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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:17−cr−00173
                                                        Honorable John Robert Blakey
Anthony Williams, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 26, 2021:


         MINUTE entry before the Honorable John Robert Blakey: Based upon the emailed
letter to the Courtroom Deputy on 10/25/2021, Defense counsel is ordered to meet with
his client and file a updated status report on or before 11/12/2021. Mailed notice (gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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